
ON APPLICATION FOR ADMISSION TO THE BAR.
PER CURIAM.
After reviewing the evidence and considering the law, we conclude petitioner, Douglas M. Palombo, is eligible to be conditionally admitted to the practice of law in Louisiana, subject to the following conditions:
*11851. Petitioner shall extend his current recovery agreement with the Lawyers Assistance Program for a period of not less than two additional years.
2. Petitioner shall satisfactorily comply with all of the requirements imposed upon him by the Lawyers Assistance Program.
3. Petitioner shall comply with any requirements imposed upon him by the Office of Disciplinary Counsel of the Louisiana Attorney Disciplinary Board.
4. Reports shall be rendered regularly by the Lawyers Assistance Program to the Office of Disciplinary Counsel on such terms and conditions as the directors of those organizations deem appropriate.
5. The conditions of this admission shall be removed only upon the affirmative recommendation of the Director of the Lawyers Assistance Program.
6. Petitioner shall promptly notify the Office of Disciplinary Counsel of any change in employment.
Should petitioner fail to make a good faith effort to comply with these conditions, or should he commit any misconduct during the period of probation, his conditional right to practice may be terminated or he may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
